             Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 1 of 47


UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

EMERGENCY CARE SERVICES OF
PENNSYLVANIA, P.C. AND EMERGENCY
PHYSICIAN ASSOCIATES OF
PENNSYLVANIA, P.C.,

                                  Plaintiffs,            Case No.

 v.

UNITEDHEALTH GROUP, INC.,
UNITED HEALTHCARE SERVICES, INC.,
UNITEDHEALTHCARE, INC.
UNITEDHEALTH NETWORKS, INC.
UNITEDHEALTHCARE INSURANCE
COMPANY,
UNITEDHEALTHCARE OF NEW
ENGLAND, INC.
UNITEDHEALTHCARE OF
PENNSYLVANIA, INC.,

                                  Defendants.



                                    COMPLAINT

         AND NOW, Plaintiffs Emergency Care Services of Pennsylvania, P.C., and

Emergency Physician Associates of Pennsylvania, P.C., by and through their

undersigned counsel, bring this action against Defendants UnitedHealth Group, Inc.,

United HealthCare Services, Inc., UnitedHealthCare, Inc., UnitedHealth Networks,

Inc., UnitedHealthCare Insurance Company, UnitedHealthCare of New England,

Inc., and UnitedHealthCare of Pennsylvania, Inc., and in support thereof, make the



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          Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 2 of 47



following averments based upon current knowledge and/or information and

reasonable belief.

      1.      Plaintiffs are local hospital-based physician practices who provide

emergency medical care to all patients, regardless of insurance coverage or ability

to pay.

      2.      While Plaintiffs are treating patients 24 hours per day, 365 days per

year, Defendants have manipulated, are continuing to manipulate, and have

conspired to manipulate their payment rates to defraud Plaintiffs and deny them

reasonable payment for their services, which the law requires.

      3.      Defendants have reaped millions of dollars from this illegal, unfair, and

fraudulent conduct, and stand to reap millions more if their conduct is not stopped.


                                  PARTIES
      4.      Plaintiff Emergency Care Services of Pennsylvania, P.C. is a

professional corporation that provides physicians and advance practice nurses who

staff hospital emergency departments in Pennsylvania. It is organized under the laws

of the Commonwealth of Pennsylvania with its principal place of business at 1201

Langhorne-Newtown Road, Langhorne, PA 19047.

      5.      Plaintiff Emergency Physician Associates of Pennsylvania, P.C. is a

professional corporation that provides physicians and advance practice nurses to

staff hospital emergency departments in Pennsylvania. It is organized under the laws



                                           2
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 3 of 47



of the Commonwealth of Pennsylvania with its principal place of business at 2500

Bernville Road, Reading PA 19605. Unless necessary to distinguish between them,

Plaintiffs Emergency Physician Associates of Pennsylvania and Emergency Care

Services of Pennsylvania, will be collectively referred to as “Plaintiffs.”

      6.     Defendant UnitedHealth Group, Inc. is the largest single health carrier

in the United States and is a corporation organized under the laws of the State of

Delaware with its principal place of business at 9900 Bren Road East, Minnetonka,

Minnesota 55343. Defendant UnitedHealth Group, Inc. is a publicly-traded holding

company that is dependent upon monies (including dividends and administrative

expense reimbursements) from its subsidiaries, which include Defendant United

Healthcare Services, Inc.


      7.     Defendant United HealthCare Services, Inc. is a corporation organized

under the laws of the State of Minnesota with its principal place of business at 9900

Bren Road East, Minnetonka, Minnesota 55343. United HealthCare Services, Inc.

is one of the entities that pay claims generated by Plaintiffs for services provided to

members of Defendants’ health insurance products.

      8.     Defendant UnitedHealthCare, Inc. is a corporation organized under the

laws of the State of Delaware with its principal place of business at 9800 Health

Care Lane, Minnetonka, Minnesota 55343. It is a subsidiary of Defendant United

HealthCare Services, Inc., and provides administrative services to certain health


                                          3
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 4 of 47



insurance plans.

      9.     Defendant UnitedHealth Networks, Inc. is a corporation organized

under the laws of the State of Delaware with its principal place of business at 9900

Bren Road East, Minnetonka, Minnesota 55343. It is also a subsidiary of Defendant

United HealthCare Services, Inc. and processes claims for certain insurance plans.

      10.    Defendant UnitedHealthCare Insurance Company is a corporation

organized and existing under the laws of the State of Connecticut with its principal

place of business at 185 Asylum Avenue, Hartford, CT 06103 and is authorized to

provide health insurance in Pennsylvania.

      11.    Defendant UnitedHealthCare of New England, Inc. is a corporation

organized and existing under the laws of the State of Rhode Island with its principal

place of business at 475 Kilvert Street, Suite 310, Warwick, Rhode Island 02886,

and is an authorized health maintenance organization (“HMO”) in Pennsylvania.

      12.    Defendant UnitedHealthCare of Pennsylvania, Inc. is a corporation

organized and existing under the laws of the Commonwealth of Pennsylvania with

its principal place of business at 1388 Beulah Road, Building 801, 4th Floor,

Pittsburgh, PA 15235, and is an authorized HMO in Pennsylvania.

      13.    Defendants UnitedHealthCare Insurance Company, UnitedHealthCare

of New England, Inc., and UnitedHealthCare of Pennsylvania, Inc. provide, operate,

and/or administer health insurance plans in Pennsylvania.


                                         4
         Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 5 of 47



                             JURISDICTION AND VENUE

        14.      This Court has jurisdiction over the federal claims for relief alleged in

Counts I, II, and V pursuant to 18 U.S.C. §§ 1961, 1962, 1964 and/or 28 U.S.C. §

1331.

        15.      This Court has the authority to grant declaratory relief under 28 U.S.C.

§§ 2201 and 2202 because there is an actual controversy between Plaintiffs and

Defendants.

        16.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

and the doctrine of pendent jurisdiction over the state law claims asserted herein.

        17.      Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28

U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to the claims

asserted herein occurred in this District and because Defendants conduct business in

this District.

                              FACTUAL ALLEGATIONS

        18.      Plaintiffs are professional emergency medical group practices that staff

hospital emergency departments and treat emergency room patients at thirteen

Pennsylvania hospitals.

        19.      Plaintiffs provide emergency, life-saving care to all who walk through

the hospitals’ doors, regardless of insurance status.

        20.      Indeed, federal law requires emergency medical providers, including


                                              5
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 6 of 47



Plaintiffs, to provide treatment to patients who present themselves at hospital

emergency departments.

       21.    More specifically, under the Emergency Medical Treatment and Labor

Act (“EMTALA”), 42 U.S.C. §§ 1395dd(a)-(b), (d), (h), hospitals and the physicians

who staff their emergency departments have a duty to screen and stabilize any

individual who comes to the emergency department with an emergency medical

condition, without inquiry into the individual’s method of payment or insurance

status. 42 U.S.C. §§ 1395(a)-(b), (h).

       22.    The emergency services at issue in this litigation include treatment for

cardiac arrest, broken bones, burns, shock, and distress.        These services are

necessary and integral to the health and welfare of the communities in which

Plaintiffs practice.

       23.    Because the law requires that emergency services be provided without

regard to insurance status, the law protects emergency service providers from

predatory conduct by payors, including the kind of conduct that Defendants have

engaged in here.

       24.    If the law did not do so, emergency service providers would be at the

mercy of insurance plans – forced to accept payment at any rate dictated by insurers

under threat of receiving no payment, or forced to transfer the financial burden of

care entirely onto patients.



                                          6
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 7 of 47



      25.    But providers are protected by law, which requires that, for the claims

at issue in this case, the insurer must reimburse Plaintiffs at a reasonable rate.

      26.    The hospitals where Plaintiffs provide emergency medical services

routinely secure signed consents for treatment and assignments of benefits from each

patient or the patient’s authorized representative.

      27.    These assignments of benefits state that the patient assigns to the

providers of the medical service all rights to benefits under her insurance, including

the right to claims and judgments.

The Relationship Between Plaintiffs and Defendants
      28.    Defendants provide health insurance to their members (i.e., their

insureds).

      29.    In exchange for premiums, fees, and/or other compensation,

Defendants assume responsibility for paying for health care services rendered to

members covered by their health plans.

      30.    In addition, Defendants provide services such as building participating

provider networks and negotiating rates with providers who join their networks.

      31.    Defendants offer a range of health insurance plans. Plans generally fall

into one of two categories.

      32.    “Fully Funded” plans are plans in which Defendants collect premiums

directly from their members (or from third parties on behalf of their members) and



                                           7
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 8 of 47



pay claims directly from the pool of funds created by those premiums.

      33.    “Employer Funded” plans are plans in which Defendants provide

administrative services to their employer clients, including processing, analysis,

approval, and payment of health care claims, using the funds of the claimant’s

employer.

      34.    Defendants provide coverage for emergency medical services under

both types of plans.

      35.    They are contractually and legally responsible for ensuring that their

members can receive such services (a) without obtaining prior approval and (b)

without regard to the “in network” or “out-of-network” status of the emergency

services provider.

      36.    Defendants highlight such coverage in marketing their insurance

products, inducing members to purchase their products and rely upon those

representations.

      37.    For     example,   on the   “patient   protections”   section   of the

UnitedHealthcare website, uhc.com, Defendants state:

      There are no prior authorization requirements for emergency services
      in a true emergency, even if the emergency services are provided by an
      out-of-network provider. Payment for the emergency service will
      follow the plan rules for network emergency coverage. This provision
      applies to all non-grandfathered fully insured and self-funded group
      health plans [Fully Funded plans], as well as group and individual
      health insurance issuers [Employer Funded plans].


                                         8
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 9 of 47



      38.    Payors typically demand a lower payment rate from contracted

participating providers.

      39.    In return, they offer participating providers certainty and timeliness of

payment, access to the payor’s formal appeals and dispute resolution processes, and

other benefits.

      40.    For all claims at issue in this lawsuit, Plaintiffs were non-participating

providers, meaning they did not have an express contract with Defendants to accept

or be bound by Defendants’ reimbursement policies or in-network rates.

      41.    Specifically, the reimbursement claims within the scope of this action

are (a) non-participating commercial claims (including for patients covered by

Affordable Care Act Exchange products), (b) that were adjudicated as covered, and

allowed as payable by Defendants, (c) at rates below the billed charges and a

reasonable payment for the services rendered, (d) as measured by the community

where they were performed and by the person who provided them. These claims are

collectively referred to herein as the “Non-Participating Claims.”

      42.    The Non-Participating Claims involve only commercial and Exchange

Products operated, insured, or administered by the insurance company Defendants.

They do not involve Medicare Advantage or Medicaid products.

      43.    Further, the Non-Participating Claims at issue under Counts III, IV, and

V do not involve coverage determinations under any health plan that may be subject


                                          9
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 10 of 47



to the federal Employee Retirement Income Security Act of 1974, or claims for

benefits based on assignment of benefits. 1

      44.    Those counts concern the rate of payment to which Plaintiffs are

entitled, not whether a right to receive payment exists.

      45.    Defendants bear responsibility for paying for emergency medical care

provided to their members regardless of whether the treating physician is an in-

network or out-of-network provider.

      46.    Defendants understand and expressly acknowledge that their members

will seek emergency treatment from non-participating providers and that Defendants

are obligated to pay for those services.

The Reasonable Rate for Non-Participating Emergency Services is Well-
Established
      47.    For many years, Defendants have allowed payment at 75-90% of billed

charges for Plaintiffs’ emergency services.

      48.    Defendants have done so largely through the use of rental networks,

which establish a reasonable rate for provider services through arms-length

negotiations between the rental network and providers on the one hand, and the

rental network and health insurance companies on the other.



1
  Plaintiffs understand, in any event, that Defendants do not require or rely upon
assignments from their members in order to pay claims for services provided by
Plaintiffs to their members.

                                           10
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 11 of 47



      49.     Rental networks act as “brokers” between non-participating providers

and health insurance companies.

      50.     A rental network will secure a contract with a provider to discount its

out-of-network charges.

      51.     The rental network then contracts with (or “rents” its network to) health

insurance companies to allow the insurer access to the rental network and to the

providers’ agreed-upon discounted rates.

      52.     As such, rental networks’ negotiated rates act as a proxy for a

reasonable rate of reimbursement for out-of-network emergency services, both in

the industry as a whole and for particular payors.

      53.     For many years, Plaintiffs’ contracts with a range of rental networks,

including MultiPlan, have contemplated a modest discount from Plaintiffs’ billed

charges for claims adjudicated through the rental network agreement.

      54.     In practice, nearly all of Plaintiffs’ non-participating provider claims

submitted under Employer Funded plans from 2008 to 2018 were paid at between

75-90% of billed charges, including the Non-Participating Claims submitted to

Defendants.

      55.     This longstanding history establishes that a reasonable reimbursement

rate for Plaintiffs’ Non-Participating Claims for emergency services is 75-90% of

Plaintiffs’ billed charge.


                                          11
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 12 of 47



      56.    Beginning in January 2019, Defendants have slashed their

reimbursement rate for Non-Participating Claims to less than half the average

reasonable reimbursement rate.

      57.    Defendants’ drastic payment cuts are entirely inconsistent with the

established rate and history between the parties.

Defendants Have Tried to Pay Non-Participating Providers Unreasonable Rates


      58.    Defendants have a history of manipulating their reimbursement rates

for non-participating providers to maximize their own profits at the expense of

others, including their own members.

      59.    In 2009, Defendant UnitedHealth Group, Inc. was investigated by the

New York State Attorney General’s Office for allegedly using its wholly-owned

subsidiary, Ingenix, to illegally manipulate reimbursements to non-participating

providers.

      60.    The investigation revealed that Ingenix maintained a database of health

care billing information that intentionally skewed reimbursement rates downward

through faulty data collection, poor pooling procedures, and lack of audits.

      61.    Defendant UnitedHealth Group, Inc. ultimately paid a $50 million

settlement to fund an independent nonprofit organization known as FAIR Health to

operate a new database to serve as a transparent reimbursement benchmark.

      62.    In a press release announcing the settlement, the New York Attorney


                                         12
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 13 of 47



General noted that: “For the past ten years, American patients have suffered from

unfair reimbursements for critical medical services due to a conflict-ridden system

that has been owned, operated, and manipulated by the health insurance industry.”

      63.   Also in 2009, for the same conduct, Defendants United HealthGroup,

Inc., United HealthCare Insurance Co., and United HealthCare Services, Inc., paid

$350 million to settle class action claims alleging that Defendants underpaid non-

participating providers for services in The American Medical Association, et al. v.

United Healthcare Corp., et al., Civil Action No. 00-2800 (S.D.N.Y.).

      64.   Since its inception, FAIR Health’s benchmark databases have been

used by state government agencies, medical societies, and other organizations to

set reimbursement for non-participating providers.

      65.   For example, the State of Connecticut uses FAIR Health’s database to

determine reimbursement for non-participating providers’ emergency services under

the state’s consumer protection law.

      66.   Defendants tout their use of FAIR Health and its benchmark databases

to determine non-participating, out-of-network payment amounts on their website.

      67.   For non-participating provider claims, the relevant United Health

Group affiliate will “in many cases” pay the lower of a provider’s actual billed

charge or “the reasonable and customary amount,” “the usual customary and

reasonable amount,” “the prevailing rate,” or other similar terms that base payment


                                        13
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 14 of 47



on what health care providers in the geographic area are charging.

      68.    As for plans that do not set rates this way, Defendants’ website implies

that they are the exception, not the rule, and provides no information about how such

plans would set rates.

      69.    While Defendants give the appearance of holding themselves to

independent benchmarks to set reimbursement rates – ones created from money paid

to settle their prior deceptive practices – Defendants have found other ways to

manipulate their reimbursement rate down from a reasonable rate in order to

maximize their profits at the expense of providers such as Plaintiffs.

      70.    For example, beginning in or around 2009, Defendants imposed

significant cuts to Plaintiffs’ reimbursement rate for Non-Participating Claims under

Defendants’ Fully Funded plans, without rationale or justification.

      71.    Defendants pay claims under Fully Funded plans out of their own pool

of funds, so every dollar that is not paid to Plaintiffs is a dollar retained by

Defendants for their own use.

      72.    Defendants’ detrimental approach to payments for members in Fully

Funded plans continues today: in 2019, Defendants have allowed payment to

Plaintiffs at rates as low as 15-20% of billed charges.




                                          14
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 15 of 47



       73.    For example, for patient ZA, 2 who was treated by Plaintiffs on February

23, 2019 and is a member of a Fully Funded plan, Plaintiffs billed Defendants $685

for procedure code 99283, the code used for a moderately severe problem, and

Defendants allowed just 15% of billed charges, or $103.98.

       74.    This claim was reimbursed at a rate significantly below reasonable

rates, described further below.

       75.    As another example, Plaintiffs treated patient ZB, a member of a Fully

Funded plan, on February 27, 2019, billed Defendants $1094 for procedure code

99284, the code used for problems of high severity, and Defendants allowed 19% of

billed charges, or $204.00.

       76.    Again, the claim was paid far below a reasonable reimbursement rate.

       77.    As a result of these deep cuts in payments for services provided to

members of Fully Funded plans, Defendants have not paid Plaintiffs a reasonable

rate for those services since 2009.

       78.    In so doing, they have illegally retained those funds.

       79.    In 2017, Defendants also began to try to avoid paying a reasonable rate

on its Employer Funded Plans, further exacerbating the financial damages to

Plaintiffs.



2
 For confidentiality purposes, the patient’s initials are redacted and are randomized,
although the examples herein are true and accurate claim examples.

                                          15
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 16 of 47



       80.   From late 2017 to 2018, Plaintiffs attempted to negotiate with

Defendants to be contracted as participating, in-network providers over the course

of multiple meetings in person, by phone, and by email correspondence.

       81.   As part of these negotiations, Plaintiffs met with Dan Rosenthal,

President of Defendant UnitedHealth Networks, Inc., John Haben, Vice President of

Defendant UnitedHealth Networks, Inc., and Greg Dosedel, Vice President of

National Ancillary Contracting & Strategy at Defendant UnitedHealthCare Services,

Inc.

       82.   In or around December 2017, Mr. Rosenthal told Plaintiffs that the

Defendants intended to implement a new benchmark pricing program specifically

for their Employer Funded plans.

       83.   Defendants then proposed to Plaintiffs a contractual rate for their

Employer Funded plans that was roughly half the average reasonable rate at which

Defendants had historically reimbursed Plaintiffs – a drastic and unjustified discount

from what Defendants had been paying Plaintiffs for years on their non-participating

claims in these plans, and an amount materially less than what Defendants were

paying other contracted providers in the same market.

       84.   Defendants’ proposed rate was neither reasonable nor fair.

       85.   Subsequently, in May 2018, Mr. Rosenthal escalated his threats,

making clear during a meeting that, if Plaintiffs did not agree to contract for the


                                         16
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 17 of 47



drastically reduced rates, Defendants would implement benchmark pricing that

would reduce Plaintiffs’ non-participating reimbursement by 33%.

      86.    Dan Schumacher, the President and Chief Operating Officer of

UnitedHealthCare and part of the Office of the Chief Executive of Defendant

UnitedHealth Group, Inc., then said that, by April 2019, Defendants would cut

Plaintiffs’ non-participating reimbursement by 50%.

      87.    Asked why the Defendants were forcing such dramatic cuts on

Plaintiffs’ reimbursement, Mr. Schumacher said it was simply “because we can.”

      88.    Defendants made good on their threats and knowingly engaged in a

fraudulent scheme to slash reimbursement rates to Plaintiffs for non-participating

claims submitted under its Employer Funded plans to levels at, or even below, what

they had threatened in 2018.

      89.    Defendants falsely claim that their new rates comply with the law

because they contracted with a purportedly objective and transparent third party,

Data iSight, 3 to process Plaintiffs’ claims for their Employer Funded plans and to


3
  Data iSight is the trademark of an analytics service used by health plans to set
payment for claims for services provided to Defendants’ members by non-
participating providers. Data iSight is owned by National Care Network, LLC, a
Delaware limited liability company with its principal place of business in Irving,
Texas. Data iSight and National Care Network, LLC will be collectively referred to
as “Data iSight.” Data iSight is a wholly-owned subsidiary of MultiPlan, Inc., a
New York corporation with its principal place of business in New York, NY.
MultiPlan acts as a Rental Network “broker” and, in this capacity, has contracted
since 2010 with Plaintiffs to secure reasonable rates from payors for Plaintiffs’ non-

                                         17
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 18 of 47



determine reasonable reimbursement rates.

      90.    In fact, Defendants are working with Data iSight to hide the fact that

they are imposing arbitrary and unreasonable payment rates on Plaintiffs that are not

based on objective criteria.

      91.    At the same time, Defendants have continued to advance their scheme

on the negotiation front.

      92.    On July 7, 2019, Mr. Schumacher advised, in a phone call, that

Defendants planned to cut Plaintiffs’ rates over three years to just 42% of the average

and reasonable rate of reimbursement that Plaintiffs had received in 2018.

      93.    Mr. Schumacher additionally advised that leadership across the

Defendant entities were aware and supportive of the drastic cuts, but provided no

objective basis for them.

      94.    The next day, Angie Nierman, a Vice President of Networks at

Defendant UnitedHealth Group, Inc., sent via interstate wires a written proposal

reflecting Mr. Schumacher’s stated cuts.

      95.    In addition to denying Plaintiffs what is owed to them for the Non-

Participating Claims, Defendants’ scheme is an attempt to use their market power to

reset the rate of reimbursement to unreasonably low levels.


participating emergency services. Plaintiffs have no contract with Data iSight, and
the Non-Participating Claims identified in this action are not adjudicated pursuant
to the MultiPlan agreement.

                                           18
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 19 of 47



RICO Defendants’ Fraudulent Scheme to Deprive Plaintiffs of Reasonable
Reimbursement Violated the Racketeer Influenced and Corrupt Organizations Act
(RICO)
      96.    Defendants UnitedHealth Group, Inc., United HealthCare Services,

Inc., UnitedHealthcare Inc., and UnitedHealth Networks, Inc. (the “RICO

Defendants”) violated the Racketeering Influenced and Corrupt Organizations Act

(RICO), 18 U.S.C. § 1961 et seq., and in particular, 18 U.S.C. § 1962(c) and 18

U.S.C. § 1962(d) in connection with a scheme that the RICO Defendants devised,

conducted, and participated in with unnamed third parties, including, but not limited

to, Data iSight.

      97.    The RICO Defendants conducted and participated directly or indirectly

in the affairs of an association-in-fact enterprise (“the Enterprise”) through a scheme

that formed a pattern of racketeering activity.

      98.    As part of this scheme, the RICO Defendants and Data iSight conspired

to, and did knowingly and unlawfully, reduce Plaintiffs’ reimbursement rates for the

Non-Participating Claims to amounts significantly below the reasonable rate for

services rendered to RICO Defendants’ members, to the detriment of Plaintiffs and

to the benefit and financial gain of RICO Defendants and Data iSight.

      99.    To carry out the scheme and in furtherance of the conspiracy, RICO

Defendants and Data iSight engaged in conduct that violated federal laws, including,

inter alia, mail fraud in violation of 18 U.S.C. § 1341, and wire fraud in violation of



                                          19
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 20 of 47



18 U.S.C. § 1343.

      100. As a result of the scheme, RICO Defendants violated 18 U.S.C. §

1962(c) and 18 U.S.C. § 1962(d).

RICO Defendants and Data iSight’s Activities Constitute a Pattern of Unlawful
Racketeering Activity
      101. RICO Defendants and Data iSight have committed, and continue to

commit, related predicate acts of racketeering activity involving mail and wire fraud

in violation of 18 U.S.C. §§ 1341 and 1343, such that they have engaged in a “pattern

of racketeering activity” under 18 U.S.C. § 1961(5) and pose a continued threat of

racketeering activity, as described below.

      102. RICO Defendants and Data iSight have knowingly, wrongfully, and

unlawfully reduced payment to Plaintiffs for the emergency services that Plaintiffs

provided to Defendants’ members, to the financial gain of the RICO Defendants and

Data iSight.

      103. As a direct and proximate result of those activities, Plaintiffs have

suffered millions of dollars in discrete financial losses.

The Enterprise and Scheme
      104. The Enterprise is comprised of RICO Defendants and third-party

entities that develop software used in reimbursement determinations used by RICO

Defendants, including Data iSight.

      105. RICO Defendants and Data iSight agreed to, and do, manipulate


                                           20
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 21 of 47



reimbursement rates and control allowed payments to Plaintiffs through acts of the

Enterprise.

      106. The Enterprise allows RICO Defendants and Data iSight to conceal

their scheme by hiding behind written agreements and false statements.

      107. Since at least January 1, 2019, the Enterprise has falsely claimed to

provide transparent, objective, and geographically-adjusted determinations of

reimbursement rates through the use of Data iSight.

      108. In reality, Data iSight is used as a cover-up for RICO Defendants to

justify paying reimbursement to Plaintiffs that is far less than the reasonable payment

rate that Plaintiffs have historically received and are entitled to under the law.

      109. This scheme is concealed through the use of false statements on Data

iSight’s website and in RICO Defendants’ and Data iSight’s communications with

providers, including Plaintiffs.

      110. The Enterprise’s scheme, as described below, was, and continues to be,

accomplished through written agreements, association, and sharing of information

between RICO Defendants and Data iSight.

The Enterprise’s False Statements

Transparency
      111. The Data iSight website claims to offer “Transparency for You, the

Provider,” and that the “website makes the process for determining appropriate



                                           21
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 22 of 47



payment transparent to [providers]. . . so all parties involved in the billing and

payment process have a clear understanding of how the reduction was calculated.”

      112. Contrary to these claims, however, the Enterprise, through Data iSight,

uses layers of obfuscation to hide and avoid providing the basis or method it uses to

derive its purportedly “appropriate” rates.

      113. This concealment was designed by the Enterprise to, and does, prevent

providers such as Plaintiffs from receiving a reasonable payment for the services

they provide.

      114. For claims whose reimbursement is determined by Data iSight, non-

participating providers receive an Explanation of Benefit form (“EOB”) from

Defendants with “IS” in the “Remark/Notes” column.

      115. Over the past six months, an ever-increasing number of Non-

Participating Claims have been processed by Data iSight with drastically reduced

payment amounts.

      116. By the end of June 2019, just over half of Non-Participating Claims

submitted to RICO Defendants were being processed for payment by Data iSight.

      117. Yet RICO Defendants and Data iSight do not state, on the face of the

EOBs, or anywhere else, any reason for the dramatic cut.

      118. Instead, the EOBs contain a note to call a toll-free number if there are

questions about the claim.


                                          22
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 23 of 47



      119. In June 2019, Plaintiffs contacted Data iSight via that number to discuss

two claims for the same procedure code, performed at the same facility, that had

both been billed at $700, but for which Data iSight had allowed reimbursement at

only 42% and 59% of billed charges ($295.28 and $413.39, respectively).

      120. After Plaintiffs left messages at Data iSight’s phone number for

approximately two weeks, a Data iSight representative, Phina (Last Name

Unknown) (“LNU”), finally connected with Plaintiffs; however, she was unable to

explain why the two claims – for the same procedure at the same facility and billed

at the same charge – were allowed at different rates.

      121. Further, when asked to provide the basis for the dramatic cut in payment

for the claims, the representative did not and could not explain how the amount was

derived or how it was determined that a cut was appropriate at all.

      122. The representative could only say that the payments on the claims

represented a certain percentage of the Medicare fee schedule; she could not explain

how Data iSight had arrived at that payment for either of the two claims, or why it

allowed a different amount for each claim.

      123. Instead, the representative simply stated that the rates were developed

by Data iSight and Defendants.

      124. When Plaintiffs continued to pursue the issue and spoke with a Data

iSight supervisor, James LNU, to inquire as to the basis for these determinations,


                                         23
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 24 of 47



James LNU responded that “it is just an amount that is recommended and sent over

to United [Defendants].”

      125. When James LNU was expressly challenged on Data iSight’s false

claim that it is transparent with providers, he responded with silence.

      126. Further attempts to understand Data iSight and obtain information

about the basis for its reimbursement rate-setting from Data iSight executives have

also been futile.

      127. Data iSight and the RICO Defendants know that the rates that Data

iSight have allowed for Plaintiffs’ claims in 2019 are unreasonable and are not, in

fact, based on objective, reliable data designed to arrive at a reasonable

reimbursement rate.

      128. They know this because when a provider challenges the payment, Data

iSight and RICO Defendants are authorized to revise the allowed amount back up to

a reasonable rate, but only if the provider persists long enough in the process.

      129. This process to contest the unreasonable payment takes weeks to

conclude for the provider and is impracticable to follow for every claim – a fact that

RICO Defendants and Data iSight understand.

      130. For example, and as evidence of this fraudulent practice, Plaintiffs

contested the allowed amounts on the two claims discussed above.

      131. Eventually, Carol LNU from Data iSight’s “Quality Control” team


                                          24
          Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 25 of 47



offered to allow payment of both claims at 85% of their respective billed charges.

         132. Thus, absent providers taking the time to chase every claim, Data iSight

and RICO Defendants are able to get away with paying a rate that they know is not

based on objective data and is far below the reasonable one.

         133. Moreover, the Enterprise’s scheme of refusing to reimburse at

reasonable rates unless and until Plaintiffs challenge its determinations continually

harms Plaintiffs, in that, even if Plaintiffs eventually receive reasonable

reimbursement upon contesting the rate, this scheme burdens Plaintiffs with

excessive administrative time and expense and deprives Plaintiffs of their right to

prompt payment of clean claims under Pennsylvania’s Prompt Payment Act and

related regulation.

Defensible and Market Tested
         134. The Enterprise’s claim to “transparency” is not its only fraudulent

claim.

         135. The Enterprise, through Data iSight, also falsely claims, on Data

iSight’s website, to set reimbursement rates in a “defensible, market tested” way.

         136. Claims processed by Data iSight contain the following note:


         MEMBER: THIS SERVICE WAS RENDERED BY AN OUT-OF-
         NETWORK PROVIDER AND PROCESSED USING YOUR
         NTEWORK BENEFITS. IF YOU’RE ASKED TO PAY MORE
         THAN THE DEDUCTIBLE, COPAY AND COINSURANCE
         AMOUNTS SHOWN, PLEASE CALL DATA ISIGHT AT 866-835-


                                           25
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 26 of 47



      4022 OR VISIT DATAISIGHT.COM, THEY WILL WORK WITH
      THE PROVIDER ON YOUR BEHALF. PROVIDER: THIS
      SERVICE HAS BEEN REIMBURSED USING DATA ISIGHT,
      WHICH UTILIZES COST         DATA    IF AVAILABLE
      (FACILITIES) OR PAID DATA (PROFESSIONALS). PLEASE
      DO NOT BILL THE PATIENT ABOVE THE AMOUNT OF
      DEDUCTIBLE, COPAY AND COINSURANCE APPLIED TO THIS
      SERVICE.     IF YOU HAVE QUESTIONS ABOUT THE
      REIMBURSEMENT CONTACT DATA ISIGHT. (emphasis added).
      137. This note is intended to, and does, lead providers to believe that the

reimbursement calculations are tied to external, objective data.

      138. Further, in its provider portal, Data iSight describes its “methodology”

for reimbursement determinations as “calculated using paid claims data from

millions of claims . . . . The Data iSight reimbursement calculation is based upon

standard relative value units where applicable for each CPT/HCPCS code,

multiplied by a conversion factor.”

      139. Data iSight’s parent company, MultiPlan, similarly describes Data

iSight’s process as using “cost- and reimbursement-based methodologies” and notes

that it has been “[v]alidated by statisticians as effective and fair.”

      140. These statements are also false.

      141. Data iSight’s rates are not data-driven: they match the rate threatened

by RICO Defendants in 2018 and are whatever RICO Defendants want, and direct

Data iSight, to allow.

      142. For example, over three months, Plaintiffs submitted claims for three



                                           26
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 27 of 47



patients who are members of Employer Funded plans under the procedure code

99285 (encompassing symptoms such as blunt trauma, severe infections, severe

burns, and chest pain requiring multiple diagnostic tests), but received

reimbursement in very different allowed amounts:

             a.    Patient AA was treated by Plaintiffs on February 2, 2019.

        Plaintiffs billed RICO Defendants $1,463 for procedure code 99285, and

        RICO Defendants allowed $1,316.70 through MultiPlan, which is

        approximately 90% of billed charges – a reasonable rate, in line with the

        reasonable rate paid by RICO Defendants to Plaintiffs for non-participating

        provider services for many years.

             b.    But, for patient AB, who was treated by Plaintiffs only six weeks

        later on March 13, 2019, RICO Defendants, through Data iSight, allowed

        only $609.28, which is only 42% of billed charges.

             c.    Then, for patient AC, who was treated by plaintiffs on May 18,

        2019, only eight weeks after AB, Plaintiffs billed $1,562 for the same

        procedure code 4 but RICO Defendants, through Data iSight, allowed only

        $435.20, or 29% of billed charges.




4
 The billed charge for patient AC differed slightly from billed charges for patients
AA and AB because patient AC was seen at a different facility from patients AA
and AB.

                                         27
            Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 28 of 47



PATIENT DATE OF PLAN              PROCEDURE BILLED ALLOWED ALLOWED
        SERVICE TYPE              CODE      AMOUNT AMOUNT AMOUNT
                                                             (%)
AA         2/2/19        Employer 99285     $1,463 $1,316.70 90%
                         Funded
AB         3/13/19       Employer 99285     $1,463 $609.28   42%
                         Funded
AC         5/18/19       Employer 99285     $1,562 $435.20   29%
                         Funded


           143. In another example, Plaintiffs submitted claims under the procedure

     code 99284 (encompassing symptoms such as respiratory illness and chest or

     abdominal pain requiring limited diagnostic testing) for patients in Employer Funded

     plans, again within weeks of each other, but RICO Defendants reimbursed at

     dramatically different and decreasing levels, negating any claim RICO Defendants

     have that their reimbursement determinations are tied to a reasonable, defensible,

     market-tested standard:

                    a.   Patient AD was treated by Plaintiffs on February 7, 2019.

             Plaintiffs billed RICO Defendants $1,094 for procedure code 99284, and

             RICO Defendants, through MultiPlan, allowed $984.60, which is 90% of

             Plaintiffs’ billed charge.

                    b.   But, for patient AE, who was treated by Plaintiffs five weeks

             later on March 13, 2019, the RICO Defendants, through Data iSight, allowed

             only $413.39, which is approximately 38% of Plaintiffs’ billed charge.

                    c.   Then, for patient AF, who was seen by Plaintiffs on May 11,

                                             28
             Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 29 of 47



             2019, eight weeks after AE, the RICO Defendants allowed only $295.28,

             which is approximately 28% of the billed charge of $1,073.

PATIENT DATE OF PLAN              PROCEDURE BILLED ALLOWED ALLOWED
        SERVICE TYPE              CODE      AMOUNT AMOUNT AMOUNT
                                                           (%)
AD         2/7/19        Employer 99284     $1,094 $984.60 90%
                         Funded
AE         3/13/19       Employer 99284     $1,094 $413.39 38%
                         Funded
AF         5/11/19       Employer 99284     $1,073 $295.28 28%
                         Funded


           144. This lock-step reduction, consistent with RICO Defendants’ 2018

     threats to drastically reduce rates even further if Plaintiffs failed to agree to their

     proposed contractual rates, spans a significant number of Plaintiffs’ claims for

     payment for services to RICO Defendants’ members.

           145. From the above examples, it is clear that Data iSight is not using any

     externally-validated methodology to establish a reasonable reimbursement rate, as

     its rates are not consistent, defensible, or reasonable.

           146. Rather, RICO Defendants, in complicity with Data iSight, increasingly

     reimburse for Plaintiffs at entirely unreasonable rates, in retaliation for Plaintiffs’

     objections to their reimbursement scheme, and completely contrary to their false

     assertions designed to mislead Plaintiffs and similar providers into believing that

     they will receive payment at reasonable rates.

           147. This reimbursement is dictated by RICO Defendants, to the financial

                                                29
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 30 of 47



detriment of Plaintiffs.

Geographic Adjustment
      148. In addition to false statements regarding transparency and its

methodologies, the Enterprise furthered the scheme by using false statements

promising geographic adjustments to allowed rates.

      149. Indeed, on its provider portal, Data iSight falsely claims that “[a]ll

reimbursements are adjusted based on your geographic location and the prevailing

labor costs for your area.”

      150. Data iSight’s parent company, MultiPlan, further falsely states on its

website that:

      For professional claims where actual costs aren’t readily available, Data iSight
      determines a fair price using amounts generally accepted by providers as full
      payment for services. Claims are first edited, and then priced using widely-
      recognized, AMA created Relative Value Units (RVU), to take the value and
      work effort into account [and] CMS Geographic Practice Cost Index, to adjust
      for regional differences . . . [then] Data iSight multiplies the geographically-
      adjusted RVU for each procedure by a median based conversion factor to
      determine the reimbursement amount. This factor is specific to the service
      provided and derived from a publicly-available database of paid claims.


      151. Contrary to those statements, however, claims from providers in

different geographic locations show that Data iSight does not adjust for geographic

differences but instead, works with RICO Defendants to cut uniformly out-of-

network provider payments across geographic locations.

      152. For example, patient WY was treated in Wyoming on January 21, 2019.


                                         30
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 31 of 47



The provider billed RICO Defendants $779 for procedure code 99284, and RICO

Defendants, via Data iSight, allowed $413.39.

      153. Four days later, patient NH was treated on the other side of the country

in New Hampshire. The provider billed RICO Defendants $1,047 for procedure

99284, and RICO Defendants, via Data iSight, again allowed $413.39.

      154. On February 8, 2019, patient OK was treated in Oklahoma. The

provider billed RICO Defendants $990 for procedure code 99284, and RICO

Defendants, via Data iSight, allowed $413.39.

      155. Two days later, patients KS and NM were treated in Kansas and New

Mexico, respectively. The providers billed RICO Defendants $778.00 and $895.00,

respectively, for procedure code 99284, but for both of these claims, RICO

Defendants, via Data iSight, allowed exactly $413.39.

      156. One month later, patient CA was treated in California. The provider

billed RICO Defendants $937.00 for procedure code 99284. RICO Defendants, via

Data iSight, yet again allowed exactly $413.39.

      157. Two months later, on May 20, 2019, Plaintiff Emergency Physician

Associates of Pennsylvania treated patient PA in Pennsylvania. Plaintiff billed

RICO Defendants $1,094 for procedure code 99284, and RICO Defendants, via Data

iSight, allowed, unsurprisingly, exactly $413.39.




                                        31
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 32 of 47



PATIENT LOCATION DATE OF                BILLED       PROCEDURE         ALLOWED
                     SERVICE            AMOUNT       CODE              AMOUNT
WY      Wyoming      1/21/19            $779         99284             $413.39
NH      New          1/25/19            $1047        99284             $413.39
        Hampshire
OK      Oklahoma     2/8/19             $990         99284             $413.39
KS      Kansas       2/10/19            $778         99284             $413.39
NM      New Mexico 2/10/19              $895         99284             $413.39
CA      California   3/25/19            $937         99284             $413.39
PA      Pennsylvania 5/20/19            $1,094       99284             $413.39


      158.   Defendants falsely claim on their website to “frequently use” the 80th

percentile of the FAIR Health Benchmark databases “to calculate how much to pay

for out-of-network services.”

      159. The 80th percentile of FAIR Health Benchmark databases clearly shows

that reimbursement for the above non-participating provider charges, when actually

based on a geographically-adjusted basis, would not only vary widely, but also all

be higher than the allowed $413.39:

  LOCATION               PROCEDURE           80th PERCENTILE OF FAIR
                         CODE                HEALTH BENCHMARK
  Wyoming                99284               $1105
  New Hampshire          99284               $753
  Oklahoma               99284               $1076
  Kansas                 99284               $997
  New Mexico             99284               $1353
  California             99284               $795
  Pennsylvania           99284               $859




                                        32
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 33 of 47



The Enterprise’s Predicate Acts
      160. To perpetuate the scheme and conceal it from Plaintiffs, in or around

2018 RICO Defendants and Data iSight entered into written agreements with each

other that are consistent with Data iSight’s agreements with similar health insurance

companies.

      161. Under those contracts, Data iSight would handle claims determinations

for services rendered to RICO Defendants’ members under pre-agreed thresholds set

by RICO Defendants.

      162. By no later than 2019, RICO Defendants and Data iSight then

coordinated and effectuated, via wire communications, the posting of false

statements on websites and the communication of false statements to providers,

including Plaintiffs, in furtherance of the scheme.

      163. These statements include Data iSight and its parent company using

interstate wires to post, on its websites, that it would provide a transparent,

defensible, market-based, and geographically-adjusted claims adjudication and

payment process for providers.

      164. Data iSight communicated to Plaintiffs by phone and by email in June

2019 that, contrary to its website’s claims to transparency, Data iSight could not

provide a basis for its unreasonably low allowed amount, mustering only that “it is

just an amount that is recommended and sent over to United [Defendants].”



                                         33
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 34 of 47



      165. Finally, after weeks of pressure, Data iSight informed Plaintiffs by

phone that it would, after all, allow payment on the contested claims at a reasonable

rate: 85% of billed charges.

      166. In short, the Enterprise perpetuated its scheme by communicating, via

wire communications, threats regarding reimbursement cuts to Plaintiffs in late 2017

and 2018.

      167. Then, after making          good on those threats, the Enterprise

communicated, via wire communications, false and misleading information to

Plaintiffs and falsely denied that it had information requested by Plaintiffs about the

basis for the drastically-cut and unreasonable reimbursement rates that RICO

Defendants sought to impose.

      168. In addition, since at least January 1, 2019, the Enterprise has furthered

this scheme by communicating payment amounts and making reimbursement

payments to Plaintiffs by means of the United States Postal Service and interstate

wires at unlawful rates that were far below reasonable rates for the services provided.

      169. For example, on June 11, 2019, RICO Defendants sent Plaintiffs, via

wire communications, EOBs for emergency services provided to patients under

multiple procedure codes, including the following EOBs for procedure code 99285:

             a.     Patient BB was treated on May 13, 2019 at a billed charge of

        $1,048.00, for which RICO Defendants, via Data iSight, allowed $435.20.


                                          34
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 35 of 47



              b.     Patient BC was treated on May 15, 2019 at a billed charge of

        $1,542.00, for which RICO Defendants, via Data iSight, allowed $435.20.

              c.     Patient BD was treated on May 26, 2019 at a billed charge of

        $1012.00, for which RICO Defendants, via Data iSight, allowed $435.20.

PATIENT DATE OF BILLED PROCEDURE ALLOWED ALLOWED
        SERVICE AMOUNT CODE      AMOUNT AMOUNT
                                         (%)
BB      5/13/19 $1,048 99285     $435.20 42%
BC      5/15/19 $1,542 99285     $435.20 28%
BD      5/26/19 $1,012 99285     $435.20 43%


       170. RICO Defendants and Data iSight expected that those unreasonable

payments would be accepted in full satisfaction of Plaintiffs’ claims.

       171. RICO Defendants and Data iSight have received, and continue to

receive, financial gains from their scheme to defraud Plaintiffs.

       172. For the services that Plaintiffs provided to patients under RICO

Defendants’ Employer Funded plans in 2019, only 36% of the Non-Participating

Claims have, to date, been reimbursed at reasonable rates, resulting in millions of

dollars in financial loss to Plaintiffs.

       173. The purpose of, and the direct and proximate result of the above-alleged

Enterprise and scheme was, and continues to be, to unlawfully reimburse Plaintiffs

at unreasonable rates, to the harm of Plaintiffs, and to the benefit of the Enterprise.




                                           35
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 36 of 47



                                  COUNT I
   Violation of RICO, 18 U.S.C. § 1962(c) (as against the RICO Defendants)


      174. Plaintiffs re-allege and restate paragraphs 1 through 173 above as if

they were fully set forth herein.

      175. Plaintiffs are each a “person” within the meaning of 18 U.S.C. §§

1961(3) and 1964(c).

      176. RICO Defendants are each a “person” within the meaning of 18

U.S.C. § 1961(3).

      177. As set forth above, since at least January 2019, RICO Defendants have

been and continue to be, a part of an association-in-fact enterprise within the

meaning of 18 U.S.C. § 1961(4), comprised of at least RICO Defendants and Data

iSight, and which Enterprise was and is engaged in activities that span multiple states

and affect interstate commerce.

      178. Each of the RICO Defendants has an existence separate and distinct

from the Enterprise, in addition to directly participating and acting as a part of the

Enterprise.

      179. RICO Defendants and Data iSight had, and continue to have, the

common and continuing purpose of dramatically reducing allowed provider

reimbursement rates to for their own pecuniary gain, by defrauding Plaintiffs and

preventing Plaintiffs from obtaining reasonable payment for the services they



                                          36
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 37 of 47



provided to RICO Defendants’ members, in retaliation for Plaintiffs’ lawful refusal

to agree to RICO Defendants’ massively discounted and unreasonable proposed

contractual rates.

      180. As set forth above, the RICO Defendants since at least January 2019,

have been and continue to be, engaged in a scheme to defraud Plaintiffs by

committing a series of unlawful acts which constitute predicate racketeering acts

under 18 U.S.C. §§ 1961(1)(B) and 1962(c), involving multiple instances of mail

fraud in violation of 18 U.S.C. § 1341 and multiple instances of wire fraud in

violation of 18 U.S.C. § 1343.

      181. Each RICO Defendant provides benefits to insured members, processes

claims for services provided to members, and/or issues payments for services and

knows and willingly participates in the scheme to defraud Plaintiffs.

      182. As a direct and proximate result of RICO Defendants’ violations of 18

U.S.C. § 1962(c), Plaintiffs were injured in their business, suffering financial losses

of millions of dollars within the meaning of 18 U.S.C. § 1964(c).

                                COUNT II
     Violation of RICO conspiracy, 18 U.S.C. § 1962(d) (as against the RICO
                                 Defendants)
      183. Plaintiffs re-allege and restate paragraphs 1 through 173 above as if

they were fully set forth herein.

      184. Plaintiffs are each a “person” within the meaning of 18 U.S.C. §§



                                          37
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 38 of 47



1961(3) and 1964(c).

      185. RICO Defendants are each a “person” within the meaning of 18 U.S.C.

§ 1961(3).

      186. As set forth above, since at least January 2019, RICO Defendants have

been and continue to be, part of an association-in-fact enterprise within the meaning

of 18 U.S.C. § 1961(4), comprised of at least RICO Defendants and Data iSight, and

which Enterprise was and is engaged in activities that span multiple states and affect

interstate commerce.

      187. RICO Defendants were and continue to be associated with the

Enterprise and knowingly conspired, within the meaning of 18 U.S.C. § 1962(d), to

violate 18 U.S.C. § 1962(c) by conducting and participating, directly or indirectly,

in the conduct and affairs in the Enterprise through a pattern of racketeering activity

within the meaning of 18 U.S.C. §§ 1961 (1)(B) and 1962(c), including multiple

instances of mail fraud in violation of 18 U.S.C. § 1341 and multiple instances of

wire fraud in violation of 18 U.S.C. § 1343, in order to defraud Plaintiffs of a

reasonable reimbursement of services.

      188. As a direct and proximate result of RICO Defendants’ violations of 18

U.S.C. § 1962(d), Plaintiffs were injured in their business, suffering financial losses

of millions of dollars within the meaning of 18 U.S.C. § 1964(c).




                                          38
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 39 of 47



                               COUNT III
 Breach of Implied-in-Fact Contract under Pennsylvania Law (as against all
                               Defendants)

      189. The allegations set forth in Paragraphs 1 through 173 above are

incorporated herein by reference as though fully set forth.

      190. Defendants knew or should have known that Plaintiffs expected

reasonable payment for the emergency services they provided.

      191. For this reason, Defendants consistently adjudicated the Non-

Participating Claims as covered and medically necessary and paid Plaintiffs for such

Non-Participating Claims.

      192. However, the payments made have been below the reasonable value of

the services rendered (1) at all material times, for members under the Fully Funded

plans, and (2) since 2019 for members in the Employer Funded plans.

      193. Defendants’ underpayment of the Non-Participating Claims violates

the duty they owe to Plaintiffs.

      194. Plaintiffs and Defendants do not voluntarily choose to transact business

with each other, and neither party has a choice in the matter.

      195. Plaintiffs and Defendants are compelled to operate together as a result

of their concomitant legal duties, namely (1) a physician’s duty under federal law to

treat emergency room patients regardless of their insurance coverage or ability to

pay, and (2) Defendants’ legal and contractual responsibility to pay for emergency


                                         39
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 40 of 47



services.

       196. An implied-in-fact contract must therefore be imposed by law to

prevent a grave injustice, specifically an enormous economic windfall in

Defendants’ favor from Plaintiffs’ provision of emergency services to Defendants’

members without payment of reasonable compensation.

       197. In breach of their implied contract with Plaintiffs, Defendants have

processed and continue to process the Non-Participating Claims at rates substantially

below the reasonable value of the emergency services provided to those members

by Plaintiffs (1) at all relevant times, for members in the Fully Funded plans and (2)

since 2019 for members in Employer Funded plans.

       198. Plaintiffs have performed all obligations under their implied contract

with Defendants necessary for Plaintiffs to be reimbursed for the Non-Participating

Claims at the reasonable value of the services rendered.

       199. At all material times, all conditions precedent have occurred that were

necessary for Defendants to perform their obligation to pay Plaintiffs on the Non-

Participating Claims at the reasonable value of the emergency services provided by

Plaintiffs.

       200. Plaintiffs did not agree that the lower reimbursement rates paid by

Defendants were reasonable or sufficient to compensate Plaintiffs for the emergency

medical services provided to Defendants’ members by Plaintiffs.


                                         40
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 41 of 47



      201. As a result of Defendants’ breach of their implied contract to pay

Plaintiffs for the Non-Participating Claims at the reasonable and lawful value of the

services rendered, Plaintiffs have suffered injury and are entitled to monetary

damages from Defendants to compensate them for their injury.

      202. Plaintiffs have suffered damages in an amount equal to (1) the

difference between the amounts Defendants unilaterally allowed as payable for Non-

Participating Claims and the reasonable value of the emergency medical services

provided as to such claims, plus (2) Plaintiffs’ loss of use of those funds.


                              COUNT IV
   Unjust Enrichment under Pennsylvania Law (as against all Defendants)

      203. The allegations set forth in Paragraphs 1 through 173 above are

incorporated herein by reference as though fully set forth.

      204. Under Pennsylvania law, a cause of action for unjust enrichment is

stated where benefits are conferred upon defendant by plaintiff; there is appreciation

of such benefits by the defendant; and acceptance and retention of such benefits

under such circumstances that it would be inequitable for Defendant to retain the

benefit without payment of value.

      205. The essential inquiry in any action for unjust enrichment or restitution

is whether it is against equity and good conscience to permit the defendant to retain

what is sought to be recovered.



                                          41
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 42 of 47



      206. Plaintiffs have complied with their legal obligations under federal law

to provide and continue to provide emergency services to the Defendants’ members

in good faith.

      207. Defendants are not lawfully permitted to prevent their members from

seeking emergency services from Plaintiffs.

      208. Given the nature of these relationships, an equitable obligation arises to

require that Defendants reasonably compensate Plaintiffs for the emergency services

rendered by Plaintiffs to Defendants’ members.

      209. In the absence of such an obligation, Defendants would enrich

themselves unjustly at the expense of Plaintiffs.

      210. Thus, Defendants are legally obligated to pay Plaintiffs the reasonable

value of the services rendered by Plaintiffs as measured by the community where

the services were performed and by the person who provided them.

      211. However, as to the Non-Participating Claims, Defendants have failed

to reimburse the Plaintiffs for the reasonable value of the services provided by

Plaintiffs and Defendants have, therefore, been unjustly enriched by the difference

between the reasonable value of the physicians’ services and the amount allowed by

Defendants (i.e., the amount paid by Defendants plus the individual liability of the

members).

      212. The emergency services provided by Plaintiffs to Defendants’ members


                                         42
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 43 of 47



materially benefit Defendants by discharging their contractual obligations to their

insureds.

      213. The benefit that Defendants receive from the emergency services

provided by Plaintiffs is, therefore, significant.

      214. In exchange for premiums and/or other compensation, Defendants

assume a duty to provide coverage to their members for emergency services.

Satisfying this “core obligation” is a material benefit in Defendants’ favor.

      215. Under these circumstances, it would be unjust and inequitable for

Defendants to retain the benefits they received without paying the value of those

benefits, i.e., by paying Plaintiffs quantum meruit, or the reasonable value of the

emergency services provided by Plaintiffs in the context of the Non-Participating

Claims.

      216. Plaintiffs seek compensatory damages, as permitted by applicable law,

in an amount that will continue to accrue through the date of trial as a result of

Defendants continuing unjust enrichment, equal to (1) the difference between the

amount Defendants processed as payable for those services and the reasonable value

of the emergency medicine care provided by the agents, servants, and employees of

Plaintiff, plus (2) the loss of use of that money.

                                   COUNT V
                  Declaratory Relief (as against all Defendants)

      217. Plaintiffs incorporate by reference the allegations set forth in

                                           43
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 44 of 47



Paragraphs 1 through 173 above as though fully set forth.

      218. This is an action for declaratory relief pursuant 28 U.S.C. § 2201, which

is necessary and appropriate to clarify the parties’ respective rights, status, and legal

relations concerning Defendants’ payment obligations to Plaintiffs for the

emergency services they provide to Defendants’ members.

      219. All adverse parties are presently before the court.

      220. Plaintiffs have been and continue to be harmed by Defendants’

underpayments for emergency services that Plaintiffs are legally obligated to render

to Defendants’ members.

      221. Plaintiffs therefore seek a declaration establishing the appropriate

reimbursement rates to be paid by Defendants to prevent further harm to Plaintiff.

      222. Plaintiffs specifically seek a determination that (1) Defendants have an

obligation to reimburse Plaintiffs for the services rendered to Defendants’ members

at rates equal to the reasonable value of the emergency services rendered; and (2)

that the rates Defendants have paid on Non-Participating Claims (a) at all relevant

times for members under their Fully Funded plans and (b) since 2019, for members

in their Employer Funded plans, are inadequate and violate their obligation to pay

Plaintiffs for their services rendered at a reasonable value.

      223. To avoid the potential for successive, separate actions enforcing the

Plaintiffs’ rights, Plaintiffs seek a declaration from the Court stating that the


                                           44
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 45 of 47



Defendants are obligated to pay Plaintiffs prospectively for the emergency medical

services rendered by Plaintiffs for the Non-Participating Claims at the reasonable

value thereof.

                                  JURY DEMAND

             Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,

Plaintiffs hereby demand a trial by jury of any issue trial of right by a jury.


                               RELIEF REQUESTED
      WHEREFORE, Plaintiffs respectfully request that this Honorable Court:

             (1) Enter judgments against the RICO Defendants and in favor of

Plaintiffs pursuant to the First and Second Causes of Action in an amount

constituting treble damages resulting from Defendants’ underpayments to Plaintiffs

for the reasonable value of the emergency services provided to Defendants’

members and reasonable attorneys’ fees incurred in bringing this action;


             (2) Enter judgments against Defendants and in favor of Plaintiffs

pursuant to the Third and Fourth Causes of Action in an amount representing the

difference between the amounts deemed payable by Defendants and the reasonable

value of the emergency services rendered by Plaintiffs together with the loss of use

of said funds, as determined after trial, plus interest;


             (3) Enter a decree pursuant to 28 U.S.C. § 2201 requiring that

Defendants must pay to Plaintiffs prospectively for the emergency medical services

                                           45
        Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 46 of 47



provided by the agents, servants, and employees of Plaintiffs to Defendants’

members amounts that represent the reasonable value of said services, as determined

after trial; and


              (4) Such other relief as the Court determines to be just and proper.




                                          46
       Case 1:19-cv-01195-SHR Document 1 Filed 07/11/19 Page 47 of 47




Dated: July 11, 2019                 Respectfully submitted,
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                                       47
